              Case 1:18-cr-00083-TSE Document 100 Filed 06/29/18 Page 1 of 1 PageID# 1816
✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                                 Eastern                                               DISTRICT OF                                        Virginia


               UNITED STATES OF AMERICA
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                       PAUL MANAFORT JR                                                                                Case Number: 1:18CR83

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 T.S. Ellis, III                                                    Asonye, Andres, Meisler                                  Nanavati, Downing, Zehnle
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 6/29/2018                                                          T. Harris                                                Amanda
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

 JP1                  6/29/2018           yes           yes         Search and Seizure Warrant

 JP2                  6/29/2018           yes           yes         Lease Agreement for Locker

 JP3                  6/29/2018           yes           yes         Occupant Information

 JP4                  6/29/2018           yes           yes         Insurance Addendum to Lease

 JP5                  6/29/2018           yes           yes         Customer Transaction Journal

 JP6                  6/29/2018           yes           yes         Consent to Search Form




                                                                    Government calls witness Scott Pfeifer




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

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